                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York


                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                      September 15, 2022


BY ECF

The Honorable Edgardo Ramos
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Trevor Milton, S1 21 Cr. 478 (ER)

Dear Judge Ramos:

       The Government writes regarding the expected witness order and schedule for trial
tomorrow, September 16, 2022. At the conclusion of trial today, the Government stated its
expected witness order on the record. Consistent with conversations between the parties, the
Government stated that it expected to call tomorrow, following the conclusion of Brendan
Babiarz’s testimony, Dale Prows and, if Mr. Prows’ testimony concludes prior to the end of the
day, Mark Russell.

        The Government learned late this afternoon that the funeral of Mr. Russell’s sister has been
scheduled to occur in Utah tomorrow. The parties have conferred and agree that Mr. Russell’s
testimony should be deferred until Monday in order to permit him to attend his sister’s funeral.
The parties further agree that, given that the parties have prepared for Mr. Russell’s testimony to
follow the testimony of Mr. Prows, it would be more efficient for the parties, the Court, and the
jury that, should Mr. Prows’ testimony conclude before the end of the trial day, the Court adjourn
for the weekend and proceed with testimony Monday morning. This schedule will permit the
parties to continue to work cooperatively to make efficient use of the jury’s time.

        The Government understands the importance of maintaining the Court’s trial schedule and
believes it likely that Mr. Prows’ testimony will not conclude before the end of the trial day in any
case (particularly because the Government now expects the remainder of Mr. Babiarz’s testimony
to be longer than its previous estimate). Nonetheless, in light of these particular circumstances,
and the importance of allowing Mr. Russell to attend to family matters on short notice to the
parties, the Government respectfully requests that, should Mr. Prows’ testimony conclude before
the scheduled end of the trial day, the Court adjourn for the weekend. As noted above, the
defendant, through his counsel, consents to this request.


                                                   Respectfully submitted,

                                                   DAMIAN WILLIAMS
                                                   United States Attorney for the
                                                   Southern District of New York


                                             By:    s/
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cc:    Counsel of Record (by ECF)




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